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January 6, 2025
VIA ECF
Hon. Ronnie Abrams
United States District Court Judge
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square, Room 1506
New York, N.Y. 10007-1312
(212) 805-0296

Re: Igartua v. Qube USA LLC d/b/a Qube Times Square Dispensary
Case No. 1:24-cv-7114 (RA) (RFT)
Joint Status Letter

Dear Judge Abrams:

We represent Plaintiff Juan Igartua ("Plaintiff") in the above-referenced Americans with
Disabilities Act ("ADA") matter against Defendant, Qube USA LLC d/b/a Qube Times Square
Dispensary ("Defendant") (collectively, the "Parties"). Together with Defendant's counsel, we
submit this joint letter in accordance with this Court's Order issued on December 23, 2024 (ECF
Doc. 12).

Pursuant to this Court's Order, the Parties have conferred on multiple occasions since the
Notice of Appearance by Defendant's counsel, David Stein, Esq., was filed on October 31, 2024
(Dkt. 7). During these discussions, the potential resolution of the pending matter has been a central
focus. Although we have not yet reached a settlement, there is a reasonable probability that we will
be able to do so in the near future.

We, the undersigned counsel for the Parties respectfully request that this case be referred to
the Court’s Mediation Program. After conferring in good faith, both Parties believe that mediation
would be a constructive and efficient means to resolve the issues at hand. We are hopeful that
through mediation, we can reach an amicable resolution that will satisfy all involved parties and
potentially avoid the need for further litigation.

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We appreciate Your Honor’s consideration of this request and are prepared to comply with
any procedures and deadlines set forth by the Court regarding mediation.

Thank you for Your Honor’s attention to this matter.

C.Cc.

Stein & Nieporent, LLP
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Sincerely,

Arjeta Albani, Esq.

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